Case 1:20-mj-03571-JB Document 13 Entered on FLSD Docket 11/02/2020 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-mj-03571-BECERRA


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.

 LUIS MANUEL URRA MONTERO,

            Defendant.
 ______________________________/

                                   DETENTION ORDER

        Pursuant to 18 U.S.C. § 3142(f), on November 2, 2020, a hearing was held to

 determine whether defendant LUIS MANUEL URRA MONTERO should be detained

 prior to trial. Having considered the factors enumerated in 18 U.S.C. § 3142(g), this

 Court finds that no condition or combination of conditions will reasonably assure the

 appearance of this defendant as required. Therefore, it is hereby ordered that the

 defendant LUIS MANUEL URRA MONTERO be detained prior to trial and until the

 conclusion thereof.

        In accordance with the provisions of 18 U.S.C. § 3142(i), the Court hereby makes

 the following findings of fact and statement of reasons for the detention:

        1. The defendant is charged by criminal complaint in the Southern District of

 Florida with one count of theft of government property, in violation of Title 18, United

 States Code, Section 641 and one count of conspiracy, in violation of Title 18, United

 States Code, Section 371.
Case 1:20-mj-03571-JB Document 13 Entered on FLSD Docket 11/02/2020 Page 2 of 4




        2.      The weight of the evidence against the defendant is substantial. The

 government has proffered that on August 9, 2020, around 1:47 AM a trailer was

 detached from a tractor parked at a warehouse parking lot in Boynton Beach, Florida.

 The trailer contained 192 medical ventilators owned by the United States Agency for

 International Development and worth approximately $3 million.

        Security camera footage showed a truck arriving at the warehouse parking lot

 and leaving approximately an hour later with the trailer. Law enforcement officers later

 determined that the truck in the video had been stolen in July 2020 from a retail store

 parking lot.

        A few days after the theft, law enforcement officers discovered the trailer. It had

 been emptied of its contents and abandoned in a remote area of Broward County.

        Law enforcement officers located the truck involved in the theft of the ventilators

 using GPS data from the truck's manufacturer. GPS data revealed that the truck was

 located at a property in Miami, Florida.

        Law enforcement officers observed an SUV leaving the property. Law

 enforcement officers effectuated a traffic stop of that SUV. The driver of the SUV,

 Yoelvis Denis Hernandez, was arrested for driving with a suspended license. Law

 enforcement officers recovered a key ring from Mr. Hernandez. The defendant posted

 Mr. Hernandez' bond.

        During the execution of a search warrant at the Miami property, law enforcement

 officers discovered the stolen ventilators in a trailer connected to the truck. A key from

 Mr. Hernandez' key ring matched the lock that had been on the trailer.

                                               2
Case 1:20-mj-03571-JB Document 13 Entered on FLSD Docket 11/02/2020 Page 3 of 4




        Law enforcement officers interviewed the defendant who denied participating in

 the theft of the ventilators. The defendant told law enforcement officers that he had

 been wearing an ankle monitor. Law enforcement officers obtained data from the

 defendant's ankle monitor and learned that at the time of the theft, the defendant had

 been within 200 feet of the warehouse where the theft occurred.

        During the interview, law enforcement officers observed a Maserati parked

 outside the defendant's home. The defendant told law enforcement officers that the

 Maserati belonged to his cousin. The defendant's cousin told law enforcement that the

 defendant often borrowed the Maserati and had done so on the night of the theft.

        Security camera footage showed a Maserati driving through the warehouse

 parking lot around the time of the theft. The Maserati's internal data showed that it had

 been at the warehouse around the time of the theft.

        3. The pertinent history and characteristics of the defendant support pretrial

 detention. The defendant was born on November 21, 1996 in Cuba. The defendant has

 been living in the United States since 2015 and is a permanent resident of the United

 States. The defendant's grandparents and extended family reside in Cuba. The

 defendant's criminal history includes multiple arrests for grand theft auto, grand theft in

 the second degree, grand theft in the third degree, burglary of an unoccupied structure

 and burglary of an unoccupied conveyance.

        4. The Court specifically finds, that there are no conditions or combination of

 conditions which reasonably will assure the defendant's appearance as required. The

 defendant has been in the United States for approximately five years and has been

 arrested multiple times related to theft. The defendant was on bond and had a


                                              3
Case 1:20-mj-03571-JB Document 13 Entered on FLSD Docket 11/02/2020 Page 4 of 4




 monitoring device on his ankle at the time he participated in the instant offense. Based

 upon the above findings of fact, which were supported by a preponderance of the

 evidence, the Court has concluded that the defendant presents a risk of flight and would

 not appear if released on bond.

                   5. The Court specifically finds, that there are no conditions or

 combination of conditions which reasonably will assure the defendant's appearance as

 required. Based upon the above findings of fact, which were supported by a

 preponderance of the evidence, the Court has concluded that this defendant presents a

 risk of flight.

         The Court hereby directs:

                         (a) That the defendant be committed to the custody of the Attorney

 General for confinement in a corrections facility separate, to the extent practical, from

 persons awaiting or serving sentences or being held in custody pending appeal;

                         (b) That the defendant be afforded reasonable opportunity for

 private consultation with counsel; and

                         (c) That, on order of a court of the United States or on request of

 an attorney for the Government, the person in charge of the corrections facility in which

 the defendant is confined deliver the defendant to a United States Marshal for the

 purpose of an appearance in connection with a court proceeding.

           DONE AND ORDERED at Miami, Florida, this 2nd day of November, 2020.


                                       ______________________________________
                                       JOHN J. O'SULLIVAN
                                       CHIEF UNITED STATES MAGISTRATE JUDGE



                                                 4
